19-11909-mkv       Doc 21       Filed 07/29/19       Entered 07/29/19 17:19:50          Main Document
                                                    Pg 1 of 2


    TROY LAW, PLLC
    John Troy
    41-25 Kissena Blvd., Suite 119
    Flushing, New York 11355
    718-762 1324
    Attorney for FLSA Creditor

    UNITED STATES DISTRICT COURT
    SOUTHERN DISTRICT OF NEW YORK
     ----------------------------------------------------------------- x

    In re Yong Lee Inc.                                                    Case No: 1:19-bk-11909

                                                   Debtor,

     ----------------------------------------------------------------- x

     NOTICE OF MOTION OF MING EN WANG FOR ENTRY OF AN ORDER
    AUTHORIZING AND DIRECTING DISCOVERY, PURSUANT TO RULE 2004
   OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE, FROM DEBTOR
    YOUNG LEE INC., PRESIDENT AND OWNER JING YANG AND MANAGER
                            HAI YING REN

           PLEASE TAKE NOTICE that on July 29, 2019, Ming En Wang (hereinafter

   “Creditor”) filed with the United States Bankruptcy Court for the Southern District of

   New York (the “Bankruptcy Court”) the annexed motion (the “Motion”), for entry of an

   order pursuant to Rule 2004 of the Federal Rules of Bankruptcy Procedure, authorizing

   and directing the discovery from the above captioned debtor. A hearing on the relief

   requested in the Motion will be held before the Honorable Mary Kay Vyskocil, United

   States Bankruptcy Judge,

           PLEASE TAKE FURTHER NOTICE that any responses or objections to the

   Motion (the “Objections”) must be in writing, shall conform to the Federal Rules of

   Bankruptcy Procedure and the Local Bankruptcy Rules for the Southern District of New

   York, and shall be filed with the Bankruptcy Court (a) by registered users of the

   Bankruptcy Court’s case filing system, electronically in accordance with General Order
19-11909-mkv    Doc 21     Filed 07/29/19    Entered 07/29/19 17:19:50        Main Document
                                            Pg 2 of 2


   M-399 (which can be found at (http://www.nysb.uscourts.gov), and (b) by all other

   parties in interest, on a CD-ROM or other electronic media, in text-searchable portable

   document format (PDF) (with a hard copy delivered directly to Chambers), in accordance

   with the customary practices of the Bankruptcy Court and General Order M-399, to the

   extent applicable, and served in accordance with General Order M- 399 and on (a)

   counsel to John Troy at 41-25 Kissena Blvd., Suite 119, Flushing, NY 11355, and (b)

   entities that requested notice in the above-captioned case under Bankruptcy Rule 2002.

          PLEASE TAKE FURTHER NOTICE that if no Objections are timely filed and

   served with respect to the Motion, Creditors may, on or after the Objection Deadline,

   submit to the Bankruptcy Court the proposed order attached to the Motion as Exhibit A,

   which may be entered with no further notice or opportunity to be heard.



          Troy Law PLLC
                                        By:     /s/ John Troy
                                                John Troy, Esq. (JT0481)


                                                (Attorney for Creditor)
                                                41-25 Kissena Blvd., Suite 119
                                                Flushing, NY 11355
                                                Tel: (718) 762-1324
                                                Fax: (718) 762-1342
                                                johntroy@troypllc.com
